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 


                                      
       Northern                                    Illinois
 
                                       
                                                              11
                                                                    
                                                                                                                                         





                                                                                             






                                            Innvantage Group, Inc.
                                             
                                            
 


              
                         
                                             
       
                                             
       
                                    

                                            


                 8 2           2 0 5 6 3 6 9
                                             
       
 

                                                            
                                                                                                        



                                                                                                            

                                                       1585 S. Shields Dr.
                                                             
                                                                                                  

                                                             
                                                                                                            

                                                       Waukegan, IL 60085
                                                             
                                                                                                                 


                                                                                                            
                                                                                                            
                                                        Lake
                                             
                                                                                                    
                                                                                                                

                                                                                                            

                                                                                                            
                                                                                                                                      

 

                  




                                                               
               Case 23-12352                Doc 1      Filed 09/18/23 Entered 09/18/23 14:48:36                                 Desc Main
                                                         Document     Page 2 of 38

                        Innvantage Group, Inc.
                                          
              



                                             X 
                                             
    
                                             
                                             

                                             
    
                                             
                                             
                                             
                                             
                                             
                                             
                                             X 
                                             

                                             

                                             
                                             
                                                 
                                             
                                                 

                                             
                                                 
                                                 2 3 6 2
                                                 

               
       
                              
                                             
       
                                             X 
                                             
       
                           
                                      
                                  
                                 
                                  
                                    
                                    X 
                                                              
                                                                  
                                                                  
                                                                  
                                                                  
                                                                  
                                                                  

                                                               
                                                               
                                                                  

                                                               
                                                                  
                                                                  
                                                                  

                                                               
                                                                  
                                             




                                                           
                Case 23-12352             Doc 1         Filed 09/18/23 Entered 09/18/23 14:48:36                                Desc Main
                                                          Document     Page 3 of 38
                      Innvantage Group, Inc.
                                         
               



            X 
                                           
       
                       
                                                                                                
       
                                             
                                                                                                

              X 
                                           
       
                        
                                          
                                                                                                  
                                



         
       
                                           X 
                                           
                                              
                                              

                                           

      X 
                                      
               
       
                       
       
                                                     
                                                           

                                                     
                                                     
                                                            
                                                            

                                                     


                                                   
                                                                                        
                                                                                                                  
                                                                                 

                                                                                          
                                                                                                                            


                                                   

                                                     
                                                      
                                                                    

                                                                            




              




                                                            
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Debtor                                           Inc.                                          Case number (ifknown]_




 13.                Of                   Check one:

                                             Funds will be available for distribution to unsecured creditors.

                                         a After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.



                                         ^ 1-49                             a 1,000-5,000                               a 25,001-50,000
 14.                Of
                                         a 50-99                            a 5,001-10,000                              a 50,001-100,000
                                         a 100-199                          a 10,001-25,000                             Q More than 100,000
                                         a 200-999


                                         a $0-$50,000                       a $1,000,001-$10 million                    U $500,000,001-$1 billion
 15.
                                         a $50,001-$100,000                 a $10,000,001-$50 million                   U $1,000,000,001-$10 billion
                                         121 $100,001-$500,000              a $50,000,001-$100 million                  a $10,000,000,001-$50 billion
                                         a $500,001-$1 million              U $100,000,001-$500 million                 Q More than $50 billion


                                         a $0-$50,000                       a $1,000,001-$10 million                    a $500,000,001-$1 billion
 16.
                                         a $50,001-$100,000                 a $10,000,001-$50 million                   a $1,000,000,001-$10 billion
                                         D $100,001-$500,000                D $50,000,001-$100 million                  a $10,000,000,001-$50 billion
                                         Q $500,001-$1 miilion              a $100,000,001-$500 million                 Q More than $50 billion




                      for



 WARNING - Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
               $500,000 or imprisonment for up to 20 years, or both. 18U.S.C.§§ 152, 1341, 1519, and 3571.



17. Declaration and signature of             The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
   authorized representative of
                                             petition.
   debtor

                                             I have been authorized to file this petition on behalf of the debtor.


                                             I have examined the information in this petition and have a reasonable belief that the information is true and

                                             correct.




                                         I declare under penalty of perjury that the foregoing is true and correct.

                                                           09/18/2023
                                                          /M /DD /YYYY

                                                                                                                 Dena Theo

                                                         authorized representative of debtor             Printed name

                                            y^Q President




Official Form 201                           Voluntary Petition for Non-lndividuals Filing for Bankruptcy                                   page 4
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Debtor
                      lnnvamntage Group, lnc.
                                                                                     Case number
              Nane




 ta. Signature of attorney          x                                                           Date          09/18/2023
                                        Signature            d6btor                                          MM /DD /YYYY

                                             Timothy C. Culbertson
                                      Printed name


                                      Firm name
                                             P.O. Box 56020
                                      Number Street
                                              Hanrvood Heights, lL 60056
                                      rny                                                            State           ZIP Code

                                              847-913-5945                                                   tcculb@gmail.com
                                      ffi                                                            Email address



                                              6229083 - rL
                                      Bar number                                                     State




 Official Form 201                    Voluntary Petition for Non-lndividuals Filing for Bankruptcy                              page 5
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      Fill in this information to identify the case:

                            Innvantage Group, Inc.
      Debtor name __________________________________________________________________
                                                 Northern
      United States Bankruptcy Court for the: ______________________                IL
                                                                     District of _________
                                                                              (State)
      Case number (If known):   _________________________
                                                                                                                                           Check if this is an
                                                                                                                                              amended filing




    Official Form 204
    Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest
    Unsecured Claims and Are Not Insiders                                                                                                                  12/15

    A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor
    disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by
    secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 20
    largest unsecured claims.


     Name of creditor and complete           Name, telephone number, and     Nature of the claim   Indicate if   Amount of unsecured claim
     mailing address, including zip code     email address of creditor       (for example, trade   claim is      If the claim is fully unsecured, fill in only unsecured
                                             contact                         debts, bank loans,    contingent,   claim amount. If claim is partially secured, fill in
                                                                             professional          unliquidated, total claim amount and deduction for value of
                                                                             services, and         or disputed collateral or setoff to calculate unsecured claim.
                                                                             government
                                                                             contracts)
                                                                                                                   Total claim, if    Deduction for     Unsecured
                                                                                                                   partially          value of          claim
                                                                                                                   secured            collateral or
                                                                                                                                      setoff
      Classic Distribution
1     c/o Mark Grzymala                                                      trade debt                                                                 $215,452.80
      10024 Skokie Blvd., Suite 323
      Skokie, IL 60077
      SBA
2
      PO Box 3918                                                            business loan                                                             $2,000,000.00
      Portland, OR 97208-3918


3
      Millie & Severson
      6602 Owens Dr., Ste. 50                                                trade debt             disputed                                            $500,000.00
      Pleasanton, CA 94588


4     Premium West
      4417 30th St.                                                          trade debt            disputed                                             $154,135.17
      San Diego, CA 92116

5     Spooners
      12460 Kirkham Ct.                                                      trade debt            disputed                                             $ 81,730.16
      Poway, CA 92064

6     Levelset
      1121 Josephine Street                                                  trade debt                                                                 $ 76,906.98
      New Orleans, LA 70130

7      MGM, LLC
       770 Warwick Lane                                                      trade debt            disputed                                            $110,000.00
       Lake Zurich, IL 60047

8     Zen Living Ltd
      #1. 421661st Ave. SE                                                    trade debt                                                                $ 60,967.59
      Calgarty, Alberta CAN T2C1Z5




    Official Form 204           Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                                  page 1
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    Debtor
                              Innvantage Group, Inc.
                 _______________________________________________________                       Case number (if known)_____________________________________
                 Name




     Name of creditor and complete         Name, telephone number, and   Nature of the claim    Indicate if   Amount of unsecured claim
     mailing address, including zip code   email address of creditor     (for example, trade    claim is      If the claim is fully unsecured, fill in only unsecured
                                           contact                       debts, bank loans,     contingent,   claim amount. If claim is partially secured, fill in
                                                                         professional           unliquidated, total claim amount and deduction for value of
                                                                         services, and          or disputed collateral or setoff to calculate unsecured claim.
                                                                         government
                                                                         contracts)
                                                                                                                Total claim, if    Deduction for     Unsecured
                                                                                                                partially          value of          claim
                                                                                                                secured            collateral or
                                                                                                                                   setoff

9     Capital One Spark
      PO BOX 4069                                                        credit card debt                                                           $ 45,000.00
      Carol Stream, IL 60197-4069


10    The Hartford
      PO Box 660916                                                      trade insurance                                                             $ 41,662.78
      Dallas, TX 75266-0916

11     Ohio Security Ins. Co.
       134 N. LaSalle St., Ste. 750                                      lawsuit                 disputed                                            $ 26,796.32
       Chicago, IL 60602


12
      Paro-US
      343 W. Erie St., Ste. 600                                          trade debt                                                                 $ 25,000.00
      Chicago, IL 60654


13    Blue Cross/Blue Shield
      PO Box 650615                                                      Insurance                                                                   $ 21,745.64
      Dallas, TX 75265-0615

14     Professional Assoc. Survey
       7100 N. Tripp Ave.                                                  trade debt                                                                $ 17,000.00
       Lincolnwood, IL 60712

15     IDES
       33 S. State St, 10th Floor                                          tax claim                                                                $ 14,642.24
       Chicago, IL 60603-2802

16     American Marble
       1280 N. Melrose Dr.                                               trade debt                                                                 $ 12,325.50
       Vista, CA 92083

17     Daly Fire Protection
       c/o Timothy Snyder                                                  lawsuit               disputed                                            $ 12,174.00
       120 E Ogden Ave Ste 17B
       Hinsdale, Illinois 60521-3544
18    Crown Equipment
      PO Box 641173                                                      trade debt                                                                  $ 12,064.36
      Cincinnati, OH 45264-1173

19     State of CA-Chris Skaletsky
       2 MacArthur Pl., Ste. 800                                         labor dispute           disputed                                            $ 9,936.08
       Santa Ana, CA 92707

20     Flannery Fire
       4810 52nd Ave.                                                      trade debt                                                               $ 7,218.20
       Kenosha, WI 53144




    Official Form 204           Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                                  page 2
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                                  Innvantage Group Creditors

American Marble                    IDES                         Sunbelt Rentals
1280 N. Melrose Dr.                33 S. State St, 10th Floor   PO Box 409211
Vista, CA 92083                    Chicago, IL 60603-2802       Atlanta, GA 30384-9211

Assured Partners                   Infinite Design              The Hartford
977 Lakeview Pkwy., Ste. 105       1621 Bolton Rd.              PO Box 660916
Vernon Hills, IL 60061             Richmond, VA 23225           Dallas, TX 75266-0916

Blue Cross/Blue Shield             ISPS Corp. of Cailf.         Waste Management
PO Box 650615                      PO BOX 100391                PO Box 4648
Dallas, TX 75265-0615              Pasadena, CA 91189-0391      Carol Stream, IL 60197-4648

Business Relocation Services       Jacob Management             Zen Living Ltd
20 Aquarium Dr.                    PO BOX 230931                #1. 421661st Ave. SE
Secaucus, NJ 07094                 Encintas, CA 92023           Calgarty, Alberta CAN
                                                                T2C1Z5
Capital One Spark                  Levelset
PO BOX 4069                        1121 Josephine Street        Classic Distribution
Carol Stream, IL 60197-4069        New Orleans, LA 70130        c/o Mark Grzymala
                                                                10024 Skokie Blvd., Suite323
Contech                            Paro-US                      Skokie, IL 60077
3100 Tollview Dr.                  343 W. Erie St., Ste. 600
Rolling Meadows, IL 60008          Chicago, IL 60654            Daly Fire Protection
                                                                c/o Timothy Snyder
Courtesy Moving & Storage          Professional Assoc. Survey   120 E Ogden Ave Ste 17B
3515 N. Sabre Dr.                  7100 N. Tripp Ave.           Hinsdale, Illinois 60521-3544
Fresno, CA 93727                   Lincolnwood, IL 60712
                                                                MGM, LLC
Crown Equipment                    Pure Logistics               770 Warwick Lane
PO Box 641173                      337 Gateford Dr.             Lake Zurich, IL 60047
Cincinnati, OH 45264-1173          Bailwin, MO 63021
                                                                Spooners
Cox Communications                 SDGE                         12460 Kirkham Ct.
PO Box 53214                       PO BOX 25111                 Poway, CA 92064
Phoenix, AZ 85072-3214             Santa Ana, CA 92799-5111
                                                                State of CA-Chris Skaletsky
First Insurance Funding            SBA                          2 MacArthur Pl., Ste. 800
PO Box 7000                        PO BOX 3918                  Santa Ana, CA 92707
Carol Stream, IL 60197-7000        Portland, OR 97208-3918
                                                                Ohio Security Ins. Co.
Flannery Fire                      Seldon Fox                   134 N. LaSalle St., Ste. 750
4810 52nd Ave.                     619 Enterprise Dr.           Chicago, IL 60602
Kenosha, WI 53144                  Oak Brook, IL 60523
                                                                Millie & Severson
FSS Technologies                   State of CA Franchise Tax    6602 Owens Dr., Ste. 50
516 West Campus Dr.                PO BOX 942857                Pleasanton, CA 94588
Arlington Heights, IL 60004        Sacramento, CA 94257-0511
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Premium West                      Equity Holders:
4417 30th St.
San Diego, CA 92116               Dean Theo
                                  611 V oltz Rd.
DTK Construction, Inc.            Northbrook, IL 60062
c/o Bret Andrew Rappaport         50% Shareholder
Hardt Stern & Kayne PC
2610 Lake Cook Rd., Suite 200     James Stivers
Riverwoods, Illinois              770 Skokie Blvd., No. 451
60015-5710                        Northbrook, IL 60062
                                  50% Shareholder
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                    IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

                                             )
                                             )
                                             ) No.
                                             )
                                             )    11

               CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

                to of 7007.1, and to the to
                              or       the          Inc.,              the
       in        the           hat          the           are          the
      or a unit, directly or indirectly 10% or of any of the
Debtor's or are to to F.R.Bankr.P. 7007.1.




       None.




Date: September 18, 2023
                                            Dena Theo, President
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                            INNVANTAGE
                            Balance Sheet
                       As of 18,




               -                                        -426,989.92

                                                         -11,468.78

                                                         -33,510.04

                                                  -$



                                                       1,324,105.36

                                              $

                                                          76,000.00

                                                               0.00

                                              $
 Total Current                                $         928,136.62

 Fixed Assets

   Furniture and Equipment                              250,000.00

 Total Fixed Assets                           $         250,000.00

 Other Assets

   WGB B/S adjustments                                         0.00

 Total Other Assets                           $                0.00

TOTAL ASSETS                                  $        1,178,136.62

LIABILITIES AND EQUITf
 Liabilities

   Current Liabilities

    Accounts Payable

      Accounts Payable                                  464,649.99

    Total Accounts Payable                    $         464,649.99

    Other Current Liabilities

       Billd                                            227,090.17

       Constrafor Loans                                  43,527.83

       Loans Payable                                          0.00

         CAN Capital                                          0.00

         Capital One Spark                               42,000.00

        Jim - IDOR                                            0.00

         PL Credit Card                                  29,650.13

         PL Loan New                                     90,675.00

        Shareholder's Loan                              445,207.22

      Total Loans Payable                     $         607,532.35

      Payroll Liabilities                                     0.00

    Total Other Current Liabilities           $         878,150.35
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                                                  $

                                                                  0.00

             EIDL                                        1,999,900.00

                             Due                            43,668.32

                                                                  0.00

                                                  $
                                                  $

                                                         -1,371,894.70

                                                         -1,243,672.69

Net                                                      1,606,682.82

                                                  -$

                 AND                              $




      Monday, Sep 18, 2023 09:18:42 AM GMT-7 - Accrual
             Case 23-12352           Doc 1            Filed 09/18/23 Entered 09/18/23 14:48:36     Desc Main
                                                       Document     Page 13 of 38



                                              TAX INSTRUCTION!
                               UoSo TAX FOR AN S




                                                                FOR THE
                                                                                  31, 2021

                  for


                        1585
                                            , I L




                        619
                        OAK IL 60523-8835
 Jo be
                        THE
          by
              of tax    Totaltax        $   ....^..^^       ^   .......^..^^.^....O^




                        Less: payments and credits $ 0
                        Plus: other amount $ 0

                        Plus: interest and penalties $ ....................................P.


                        NO PMT REQUIRED $

                        Credited to your estimated tax $

                        Otheramount               $   ....................................Q.




                        Refunded         to   you     $   ....................................P.




                        NOT APPLICABLE
             to

Mail tax return         THIS RETURN HAS BEEN PREPARED FOR ELECTRONIC FILING. TO HAVE
and check (if           IT TRANSMITTED ELECTRONICALLY TO THE IRS, PLEASE SIGN, DATE,
applicable) to          AND RETURN FORM 8879-S TO OUR OFFICE. WE WILL THEN SUBMIT
                        YOUR ELECTRONIC RETURN.


Return must be
                        RETURN FEDERAL FORM 8879-S TO US BY SEPTEMBER 15, 2022o
mailed on
or before

Special                 ENCLOSED ARE COPIES OF SCHEDULE K-l TO BE DISTRIBUTED TO THE
Instructions            SHAREHOLDERS o




100084 04-01-21
                     Case 23-12352                         Doc 1               Filed 09/18/23 Entered 09/18/23 14:48:36                                                                  Desc Main
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                                                                                                                                                                                                  0MB No. 1545-0123

                                            Do not file this the has or is to to be an -(

    Department of the Treasury
    Internal Revenue Service
                                                           |> Go to www.irs.gov/Form11208 for and the
                                                                                                                                                                                                          121
    For calendar year 2021 or tax year beginning                                                                                          , ending
    A S election effective date                Name                                                                                                                              D Employer identification number
         09/05/2017                      t_
                                         2
    B Business activity                  £Z
                                         Q-
                                                                                                                                                                                          XX-XXXXXXX
         code number                     a:
         (see instructions)              0 Number, street, and room or suite no. If a P.O. box, see instructions.                                                                E Date incorporated
             238900'                     UJ
                                         Q-       1585 SOUTH SHIELDS DRIVE                                                                                                                09/05/2017
    C Check if Sch.M-3                         City or town, state or province, country, and ZIP or foreign postal code                                                          F Total assets (see instructions)
         attached —|                                                             IL 60085                                                                                        $ 2,944,303«
    G Is the corporation electing to be an S corporation beginning with this tax year? I_I Yes                                               No
    H Check if: (1) II Final return (2) II Name change (3) I Address change (4)1                                                             Amended return (5) I I S election termination
    I Enter the number of shareholders who were shareholders during any part of the tax year                                                                                                            ^>
    J Chec(< if corporation: (1)1_^ Aggregated activities for section 465 at-risk purposes (2)                                               Grouped activities for section 469 passive activity purposes
           Caution: Include only trade or business income and expenses on lines 1a through 21. Seethe instructions for more information.
                      Gross receipts                                           Heturn and
              1a      or sales                4/952,874                        allowances                                         C Bal. Subtract line 1b from line 1a               1c
             2 Cost of goods sold (attach Form 1125-A)                                                                                                                               2
             3 Gross profit. Subtract line 2 from line 1c                                                                                                                            3
             4 Net gain (loss) from Form 4797, line 17 (attach Form 4797)
             5 Other income (loss) (attach statement)
             6 Total income (loss). Add lines 3 through 5                                                                                                                   _^
             7        Compensation of officers (see instrs. -attach Form 1125-E)
                                                                                                                                                                                                       -2-5-^7TT8~
             8        Salaries and wages (less employment credits) ,,,,,,,., EMPLOYMENT, CR,,,,,,13 8,,^
                                                                                                                                                                                                        -387575~
             9        Repairs and maintenance
            10        Bad debts
            11        Rents                                                                                                                                                                               13/236,
            12        Taxes and licenses STATEMENT 1                                                                                                                                 12                   95,466.
            13        Interest (see instructions)                                                                                                                                    13                  12,904
           14         Depreciation not claimed on Form 1125-A or elsewhere on return (attach Form 4562)                                                                                                  39,805
           15         Depletion (Do not deduct oil and gas depletion.)
           16         Advertising                                                                                                                                                   16
           17         Pension, profit-sharing, etc., plans                                                                                                                          17
   c
   0       18         Employee benefit programs                                                                                                                                                          83,181
   4->

   0       19         Other deductions (attach statement) .,,,,,,,,,,,,,,,,,,,,,,,,,,,,,, STATEMENT,,2,
                                                                                                                                                                                                  "3,193/322
   3
   Ti      20         Total deductions. Add lines 7 through 19                                                                                                                      20            3,991,607
           21         Ordinary business income (loss). Subtract line 20 from line 6                                                                                                 21              162,922
           22 a Excess net passive income or LIFO recapture tax (see in struction s)                                                 22a
                 b Tax from Schedule D (Form 1120-S)                                                                                 22b
                 c   Add   lines   22a   and   22b    .........................................................................                                                     22c
   c
   (U      23 a 2021 estimated tax payments and 2020 overpayment credited to 2021                                                   23a
   >>            b Tax deposited with Form 7004                                                                                     23b
   ro
  Q-             c Credit for federal tax paid on fuels (attach Form 4136)                                                          23c
  T5
  c
  co
                 d Add lines 23a through 23c                                                                                                                                        23d
           24 Estimated tax penalty (see instructions). Check if Form 2220 is attached                                                                                              24
           25 Amount owed. If line 23d is smaller than the total of lines 22c and 24, enter amount owed                                                                             25
           26 Overpayment. If line 23d is larger than the total of lines 22c and 24, enter amount overpaid                                                                          26
           27 Enter amount from line 26: Credited to 2022 estimated tax ^                                                                                Refunded ^                 27
             Under penalties of perjury, I declare that I have examined this return, including accompanying schedules and statements, and to the best of my knowledge and
             belief, it is true, correct, and complete. Declaration of preparer (other than taxpayer) is based on all information of which preparer has any knowledge.
                                                                                                                                                                                                    May the IRS discuss
                                                                                                                                                                                                    this return with the
  Sign
                                                                                                                                  .PRESIDENT                                                        preparer shown
                                                                                                                                                                                                    below? See instr.
  Here
                     Signature of officer                                                       Date                              Title                                                                  jYesL       jNo|
         Print/Type preparer's name                                                Preparer's signature
                                                                                                                                                  Date                                     PTIN
                                                                                                                                                                         Check if
  Paid
                                                                                                                                                                                            P01399939
                                                                                                                                                                         self-
  Pre-   DANIEL J. DIMARIO                                                                                                                                               employed

                                   SELDEN FOX, LTD.                                                                                                                                        XX-XXXXXXX
  Only
         Firm's address ^ 619 ENTERPRISE DRIVE
                                   OAK BROOK, IL 60523-8835                                                                                                                         630-954-1400
  LHA For Paperwork Reduction Act Notice, see separate instructions. 111701 12-23-21                                                                                                         Form 1120-8(2021)



16290822 798777 30008-01                                                           2021o04020 INNVANTAGE GROUP INC.                                                                               30008-01
                     Case 23-12352                       Doc 1               Filed 09/18/23 Entered 09/18/23 14:48:36                                                                      Desc Main
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                     ^^                     Do not file this the has filed or is to elect to be an S
                                                                                                                                                                                                    0MB No. 1545-0123



                                                         |> Gotowww.lrs.gov/Form1120Sfor and the
    Department of the Treasury
    Internal Revenue Service

    For calendar year 2021 or tax year beginning                                                                                           , ending
    A S election effective date              Name                                                                                                                                 D Employer identification number
         09/05/2017
         Business activity                                                                            INC                                                                                  XX-XXXXXXX
         code number
         (see instructions)                  Number, street, and room or suite no. If a P.O. box. see instructions.                                                               E Date incorporated
             238900'                            1585                                                                                                                                       09/05/2017
    C Check if Sch.M-3                       City or town, state or province, country, and ZIP or foreign postal code                                                             F Total assets (see instructions)
         attached                                                         . IL 60085                                                                                              $ 2,944,303
    6 Is the corporation electing to be an S corporation beginning with this tax year? I_I Yes                                                    No
    H Check if: (1)1 I Final return (2)I I Name change (3) E_] Address change (4)                                                             Amended return         (5) II S election termination
    I Enter the number of shareholders who were shareholders during any part of the tax year                                                                                                            .E>
    J Check if corporation: (1) I_I Aggregated activities for section 465 at-risk purposes (2)                                                Grouped activities for section 469 passive activity purposes
           Caution: Include oniy trade or business in come and expenses on lines 1a through 21. Seethe instructions for more information.
                                                                            return and"
                      Gros£LreceiPts 4,952,874                                                                                     G Bal. Subtract line 1b from line 1a               1c
                      or sales ... ~i r -'-^^ , ^ ' --                       allowances

                      Cost of goods sold (attach Form 1125-A)
                      Gross profit Subtract line 2 from line 1c
                      Net gain (loss) from Form 4797, line 17 (attach Form 4797)
                      Other income (loss) (attach statement)
                      Total income (loss). Add lines 3 through 5
                      Compensation of officers (see instrs. - attach Form 1125-E)
                                                                                                                                                                             ^
                                                                                                                                                                                                        ~2557TT8"
                      Salaries and wages (less employment credits) .,,,,,,,, EMPLOYMENT,. CR,,,,,,13 8,, 7.0
                                                                                                                                                                                                         -3875T5~
             9        Repairs and maintenance
            10        Bad debts                                                                                                                                                       10
            11        Rents                                                                                                                                                                               13,236
            12        Taxes and licenses , ,, , STATEMENT 1                                                                                                                                               95,466
            13        Interest (see instructions)                                                                                                                                     13                  12,904
           14         Depreciation not claimed on Form 1125-A or elsewhere on return (attach Form 4562)                                                                               14                  39,805,
           15         Depletion (Do not deduct oil and gas depletion.)
           16         Advertising
           17         Pension, profit-sharing, etc., plans                                                                                                                           17
           18         Employee benefit programs                                                                                                                                      18                   83,181-

    0      19         Other deductions (attach statement) ,,,,,,,,,,,_,,,,STATEMENT,,2                                                                                               19             3,193,322
    3
   T3
   0       20         Total deductions. Add lines /through 19                                                                                                                        20             3/991/607
   a       21         Ordinary business income (loss). Subtract line 20 from line 6                                                                                                  21               162,922
           22 a Excess net passive income or LIFO recapture tax (see instructions)                                                    22a
                 b Tax from Schedule D (Form 1120-S)                                                                                  22b
                 c Add lines 22a and 22b                                                                                                                                             22c
   c       23 a 2021 estimated tax payments and 2020 overpayment credited to 2021 ............... [ 23a
   <u

   >             b Tax deposited with Form 7004 | 23b
   co
  a.             c Credit for federal tax paid on fuels (attach Form 4136) ................................. | 23c
  T3
   c
  co
                 d   Add   lines   23a   through   23c   ......................................................................................                                      23d
   (Q      24 Estimated tax penalty (see instructions). Check if Form 2220 is attached                                                                                                24
  [-.
           25 Amount owed. If line 23d is smaller than the total of lines 22c and 24, enter amount owed                                                                              25
           26 Overpayment. If line 23d is larger than the total of lines 22c and 24, enter amount overpaid                                                                           26
           27 Enter amount from line 26: Credited to 2022 estimated tax                                                                                       Refunded ^             27
              Under penalties of perjury, I declare that I have examined this return, including accompanying schedules and statements, and to the best of my knowledge and
              belief, it is true, correct, and complete. Declaration of preparer (other than taxpayer) is based on all information of which preparer has any knowledge.
                                                                                                                                                                                                     May the IRS discuss
                                                                                                                                                                                                     this return with the
  Sign
                                                                                                                                 .PRESIDENT                                                          preparer shown
                                                                                                                                                                                                     below? See instr.

                     Signature of officer                                                      Date                                Title                                                                  jYesL       lNo|
          Print'Type preparer's name                                              Preparer's signature
                                                                                                                                                       Date                                  PTIN
                                                                                                                                                                          Check if
  Paid
         DANIEL Jo DIMARIO                                                                                                                                                                   P01399939
                                                                                                                                                                          self-
  Pre-                                                                                                                                                                    employed
         Firm's name
                                   SELDEN FOX/ LTDo                                                                                                                                         XX-XXXXXXX
  Only
         Firm's address ^ 6 FS^NTERPRI SE DRIVE
                                   OAK BROOK, IL 60523-8835                                                                                                                          630-954-1400
  LHA For Paperwork Reduction Act Notice, see separate instructions. 111701 12-23-21                                                                                                           Form 1120-8(2021)



16290822 798777 30008-01                                                         2021.04020 INNVANTAGE GROUP INC                                                                                    30008-01
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                                                                       Document     Page 16 of 38

    Form 1120-8(2021)                                                               INC                                                                         XX-XXXXXXX Page 2
                                  tier (see instructions)                                                                                                                                    Yes | No
     1 Check accounting method: a                      -^^__^^-^^^^
     2 See the instructions and enter the:
        a Business activity |> b Product or service |> FINISH
     3 At any time during the tax year, was any shareholder of the corporation a disregarded entity, a trust, an estate, or a
        nominee or similar person? If "Yes," attach Schedule B-1, Information on Certain Shareholders of an S Corporation
     4 At the end of the tax year, did the corporation:
      a Own directly 20% or more; or own, directly or indirectly; 50% or more of the total stock issued and outstanding of any
        foreign or domestic corporation? For rules of constructive ownership, see instructions. If "Yes," complete (i) through (v) below                                                                  x
                                                                               /er                                                                         (iv) Hercentage       [v)jt Percentage in Jiv) is
                                                                          Idenfifi'cation Number                           (Eii) Country of                                    00% .Enter the Date (Jf'applicabb)
                          (i) Name of Corporation                                                                                                              of Stock
                                                                                                                            Incorporation                                           iuaIifiedSubchapterS
                                                                                   (if any)                                                                   Owned            Subsidiary Election Was Made




     b Own directly an interest of 20% or more, or own, directly or indirectly, an interest of 50% or more in the profit, loss, or
       capital in any foreign or domestic partnership (including an entity treated as a partnership) or in the beneficial interest of a
       trust? For rules of constructive ownership, see instructions. If "Yes," complete (i) through (v) below                                                                                            x
                                                                      liUhmDlover                                                                                                           (v) Maxim urn
                                                                                                                                                   (iv) Country of
                             (i) Name of Entity                           Idenfifi'cation Number          (Hi) Type of Entity                                                           Percentage Owned in
                                                                                   (if any)                                                         Organization                        Profit, Loss, or Capital




    5 a At the end of the tax year, did the corporation have any outstanding shares of restricted stock?                                                                                                 x
       If "Yes," complete lines (i) and (ii) below.
       (i) Total shares of restricted stock ^
       (ii) Total shares of non-restricted stock ............................................................................................. ^


     b At the end of the tax year, did the corporation have any outstanding stock options, warrants, or similar instruments?                                                                            x
       If "Yes," complete lines (i) and (ii) below.
       (i) Total shares of stock outstanding at the end of the tax year
       (ii) Total shares of stock outstanding if all instruments were executed ...................................................... ^

    6 Has this corporation filed, or is it required to file, Form 8918, Material Advisor Disclosure Statement, to provide info. on any reportable transaction?                                          x
    7 Check this box if the corporation issued publicly offered debt instruments with original issue discount
       If checked, the corporation may have to file Form 8281, Information Return for Publicly Offered Original Issue Discount Instruments.
    8 If the corporation (a) was a C corporation before it elected to be an S corporation or the corporation acquired an asset
       with a basis determined by reference to the basis of the asset (or the basis of any other property) in the hands of a C
       corporation, and (b) has net unrealized built-in gain in excess of the net recognized built-in gain from prior years,
       enter the net unrealized built-in gain reduced by net recognized built-in gain from prior years ^ $
    9 Did the corporation have an election under section 163(j) for any real property trade or business or any farming business
      in effect during the tax year? See instructions
  10 Does the corporation satisfy one or more of the following? See instructions                                                                                                                        x
     aThe corporation owns a pass-through entity with current, or prior year carryover, excess business interest expense.
     b The corporation's aggregate average annual gross receipts (determined under section 448(c)) for the 3 tax years
      preceding the current tax year are more than $26 million and the corporation has business interest expense.
     c The corporation is a tax shelter and the corporation has business interest expense.
      If "Yes," complete and attach Form 8990.
  11 Does the corporation satisfy both of the following conditions?                                                                                                                                    x
    aThe corporation's total receipts (see instructions) for the tax year were less than $250,000.
    b The corporation's total assets at the end of the tax year were less than $250,000.
      If "Yes," the corporation is not required to complete Schedules L and M-1.

  111711 12-23-21                                                                                                                                                            Form1120-S (2021)

16290822 798777 30008-01                                                  2021o04020 INNVANTAGE GROUP INC,                                                                      30008-01
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                                                                                             Document     Page 17 of 38
    Form 1120-8(2021)                                                                                                                                                                                                        Pages
                                 B ] (see instructions) (continued)                                                                                                                                                    Yes     No
              During the tax year, did the corporation have any non-shareholder debtthat was canceled, was forgiven, or had the terms modified so as to reduce the principal amount of the debt?
              If "Yes," enter the amount of principal reduction [> $
    13 During the tax year, was a qualified subchapter S subsidiary election terminated or revoked? If "Yes; see instructions
    UaDid the corporation make any payments in 2021 thatwould require it to file Form(s) 1099?
          bit "Yes," did the corporation file or will it file required Form(s) 1099?
    15 Is the corporation attaching Form 8996 to certify as a Qualified Opportunity Fund?
              If "Yes; enter the amount from Form 8996, line 15 ............................................................................ |> $


                                                                                                                                                                                                             Total amount
                      1 Ordinary business income (loss) (page 1, line 21)
                     2 Net rental real estate income (loss) (attach Form 8825) ................

                     3 a Other gross rental income (toss)                                                                                            3a
                       b Expenses from other rental activities (attach statement)                                                                    3b I
                       c Other net rental income (loss). Subtract line 3b from line 3a                                                                                                              3c
                     4 Interest income
         0
         =J
                     5 Dividends: a Ordinary dividends                                                                                                                                              5a
         0)                                   b Qualified dividends                                                                                 5b
         0           6 Royalties
         0
         c
                     7 Net short-term capital gain (loss) (attach Schedule D (Form 1120-S))
                     8a Net long-term capital gain (loss) (attach Schedule D (Form 1120-S))..
                       b Collectibles (28%) gain (loss)
                       c Unrecaptured section 1250 gain (attach statement)                                                                          8c
                     9 Net section 1231 gain (loss) (attach Form 4797)
                          Other income (loss)
                          (see instructions) \^ Type                                                                                                                                                10
                   11 Section 179 deduction (attach Form 4562)                                                                                                                                      11
         y)
         c         12 a Charitable contributions                                                                                                                                                   12a
         0
         ^i
         0
                       b Investment interest expense                                                                                                                                               12b
         3                Section. 59(e)(2)
         •u               expenditures' ' Type                                                                                                                                                     12c
         0)              Other deductions
         Q               (see instructions) Type                                                                                                                                                   12d
                  13 a Low-income housing credit (section 42(j)(5))                                                                                                                                13a
                      b Low-income housing credit (other)                                                                                                                                          13b
                      c Qualified rehabilitation expenditures (rental real estate) (attach Form 3468, if applicable)                                                                               13c
         ~o              Other rental real estate
         £               credits (see instructions) Type p                                                                                                                                         13d
         0               Other rental credits
                                                  Type                                                                                                                                             13e
                         (see instructions)
                      f Biofuel producer credit (attach Form 6478)                                                                                                                                 13f
                         Other credits
                      g (see instructions) Type                                                                                                                                                    13g
     "j
     co
    .°y           14 Attach Schedule K-2 (Form 1120-S), Shareholders' Pro Rata Share Items - International, and

     I!
    '€ u
                         check this box to indicate you are reporting items of international tax relevance

    y
    ±=F

                  15 a Post-1986 depreciation adjustment                                                                                                                                           15a              -1/011.

   .l^s               b Adjusted gain or loss                                                                                                                                                      15b
   1c 5;Z
      el              c Depletion (other than oil and gas)                                                                                                                                         15c
   s.l^               d Oil, gas, and geothermal properties - gross income                                                                                                                         15d
                      e Oil, gas, and geothermal properties - deductions                                                                                                                           15e
                     f Other AMT items (attach statement) ....................                                                                                                                     15f


   It
   CT)
                 16 a Tax-exempt interest income                                                                                                                                                   16a
                     b Other tax-exempt income                                                                                                            STATEMENT 3                              16b           200,541.
   ^'0-^
   ¥:j='cn
   < o ro            c Nondeductible expenses                                                                                                             STATEMENT 4                              16c           163,353.

   eT
   <5</)
                     d Distributions (attach statement if required)                                                                                                                                16d
                     e Repayment of loans from shareholders                                                                                                                                        16e
                     f Foreign taxes paid or accrued                                                                                                                                               16f
                                                                                                                                                                                                            Form 1120-S (2021)




  111721 12-23-21



16290822 798777 30008-01                                                                        2021o04020 INNVANTAGE GROUP INC.                                                                               30008-01
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    Form1120S (2021)                                                                      0                                           8:    ^205i6365
                                                                                                                                                     f" -3, f j—
                                                                                                                                                                   Page 4
         Si                    6€ j Pro (continued)                                                                                             Total
              c
              0        17alnvestment income                                                                                         17a
         5»
         Q) TO
        J=
                          b Investment expenses                                                                                     17b
        60    l»
                          c Dividend distributions paid from accumulated earnings and profits                                       17c
         ^                d Other items and amounts fatt.stmf)
              c
         c 0
         0'

                        18 Income (loss) reconciliation. Combine the amounts on lines 1 through 10 in the far right colum
              4-i

         0 CQ
         ®;
                                                                                                                                     18
        £•"
              0            From the result, subtract the sum of the amounts on lines 11 through 12dand 16f
                               L | per                                               Beginning of tax year                         End of tax year
                                     Assets                                   _iaL                           jy_             (c)                         (d)
     1          Cash                                                                                         "73~755T                                ~552~, 6 2 2 o

     2a Trade notes and accounts receivable                                  597,563                                        578, H2
         b Less allowance for bad debts                                                                      "5^77?6T                                -578-~4T27

     3          Inventories
     4          U.S. government obligations
    5          Tax-exempt securities
    6           Other current assets (ati stmt)
    7           Loans to shareholders                                                                                                           T76ZI7"6277
    8           Mortgage and real estate loans
    9          Other investments (ati stmt.)
   10a Buildings and other depreciable assets                                313,330                                        ^9^7. 330
         b Less accumulated depreciation                                     190,883                         122 ,447       -23~07 58V               T64~~6l2~
   Ha Depletable assets
         b Less accumulated depletion
   12          Land (net of any amortization)
   13a Intangible assets (amortizable only)
         b Less accumulated amortization
   14          Other assets (att. stmt.)
   15          Total assets                                                                                  T93 ,567                          1;r94T7 3^37
                    Liabilities and Shareholders' Equity
   16         Accounts payable                                                                               113 ,730                                    58, 914.
   17          Mortgages, notes, bonds payable in less than 1 year

   18          Other current liabilities (att. stmt.)                STATEMENT 6                              T ,385                                               -07
  19          Loans from shareholders                                                                        Tn ,218                                  427, 56T7
  20          Mortgages, notes, bonds payable in 1 year or more

  21          Other liabilities (ati stmt.)                          STATEMENT 7                                    ~0~.
                                                                                                                                               T,.000, ^0-
  22          Capital stock                                                                                   T7^oo~.                                     T7T00-
  23          Additional paid-in capital
  24          Retained earnings                                      STATEMENT 8                             4U7TT^T.                                 456, T237
  25          Adjustments to shareholders' equity (att. stmt.)

  26          Less cost of treasury stock                                                                                                                             J
  27          Total liabilities and shareholders' equity                                                     T9T756T:                          ~n 944, 30T:
                                                                                                                                                Form1120-S (2021)




  111731
  12-23-21

                                                                                                      4
16290822 798777 30008-01                                                  2021.04020 INKTVANTAGE GROUP INC.                                          30008-01
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                                                                        Document     Page 19 of 38

    Form1120-S (2021)                                                              INC                                                                             XX-XXXXXXX
                                                                   of              per                                per
                                          Note: The corporation may be required to file Schedule M-3. See instructions.

      1 Net income (loss) per books                                             52,589.           5 Income recorded on books this year not
           Income included on Schedule K, lines 1, 2, 3c, 4, 5a,                                     included on Schedule K, lines 1 through
           6,1, 8a,9,and 10, not recorded on books this year                                         10 (itemize):
           (itemize):                                                                                a Tax-exempt interest $
                                                                                                                   10                                                              Sl/393o
      3 Expenses recorded on books this year not                                                  6 Deductions included on Schedule K, lines 1
           included on Schedule K, lines 1 through 12                                               through 12 and 16f, not charged against
           and 16f (itemize):                                                                       book income this year (itemize):
           a Depreciation $                                                                          a Depreciation $
              Travel and entertainments
                          9 171,726o                                          171,726.            7 Add lines 5 and 6
     4 Add lines 1 through 3                                                                      8 Income (loss) (Schedule K, line 18). Subtract line 7 from line 4

                                °2 | of
                                                                                                                                                                                          instrs.;

                                                                        (a) Accumulated              (b) Shareholders'                     (c) Accumulated                (d) Other adjustments
                                                                                                    undistributed taxable
                                                                      adjustments account
                                                                                                  income previously taxed
                                                                                                                                         earnings and profits                   account

     1 Balance at beginning of tax year
     2 Ordinary income from page 1Jine 21
     3 Other additions 11                                                   200,541,                                                                              12             200,541.
     4 Loss from page 1, line 21
    5 Other reductions STATEMENT 13                                         163,353.                                                                              14            '200,541.)
    6 Combine lines 1 through 5                                             604,244.
    7 Distributions
    8 Balance at end of tax year. Subtract line
        7 from line 6                                                       604,244.                                                                                                          0.

                                                                                                                                                                           Form1120-S (2021)




  111732
  12-23-21




16290822 798777 30008-01                                                   2021o04020 INNVANTAGE GROUP INC                                                                    30008-01
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   Form "j "j215° 12
   (Rev. October 2016)                                                                                                                               0MB No. 1545-0123
                                                 t>                      to                         or
   Department of the Treasury
   Internal Revenue Service
                                    ^> 1125-E and its is at wwwjrs.gov/form1125e.
                                                                                                                                               Employer Identification number

                                                      INC                                                                                       XX-XXXXXXX
           Complete Form 1125-E only if total receipts are $500,000 or more. See instructions for definition of total receipts.


                                                                          (b) Social security    (c) Percent o    Percent of stock owned              (f) Amount of
                                (a) Name of officer                                             time devoted t
                                                                                  number           business      (d) Common   (e) Preferre            compensation


                                                                     XXXXXXXXXXXXX
                                                                      524-54-652
                                                                     XXXXXXXXXXXXX 100%                          50.00'                                   130,000.

                                                                      XXXXXXXXXXXX
                                                                       i03-84-898
                                                                      XXXXXXXXXXXXX 100%                         50.00s                                   130,000.




  2 Total compensation of officers                                                                                                     2                 260,000.

  3 Compensation of officers claimed on Form 1125-A or elsewhere       1 return                                                        3

  4 Subtract line 3 from line 2. Enter the result here and on Form 1120. page 1, line 12orthe
      appropriate line of your tax return ..                                                                                           4                 260,000.
  For Paperwork Reduction Act Notice, see separate instructions.                                                                              Form 1125-E(Rev.10-2016)


  124451 04-01-21 LHA



16290822 798777 30008-01                                      2021o04020 INNVANTAGE GROUP INCo                                                         30008-01
                  Case 23-12352                           Doc 1               Filed 09/18/23 Entered 09/18/23 14:48:36                                                                           Desc Main
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                                                                                                                                                                                                        0MB No. 1545-0172
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                                                                             '<s?!^
                                                                                                                                                 F?i^;an,-<=m rx',

                                                                                                                                                 ^liLV'yiij
                                                                                                                     on
                                                                                            E> to tax return.
    Department of the Treasury                                                                                                                                                                             Attachment
    Internal Revenue Service (99)                      |> Go to wwvtf.irs.gov/Form4562 for the                                                                                                             Sequence No. 179
    Name(s) shown on return                                                                                               Business or activity to which this form relates                             Identifying number




    INNVANTAGE GROUP INC                                                                                                                                                                             182-2056365
              I I Election To Expense Certain Property Under Section 179 Note: If you have any listed property, complete Part V before you complete Part I.

     1 Maximum amount (see instructions)                                                                                                                                                     1          1 ,050, 000.
                                                                                                                                                                                          2                      ~^~,   OOOo
     2 Total cost of section 179 property placed in service (see instructions)
                                                                                                                                                                                                      ~2
     3 Threshold cost of section 179 property before reduction in limitation                                                                                                              3                 ,620, 000.
     4 Reduction in limitation. Subtract line 3 from line 2. If zero or less, enter -0-                                                                                                   4
     5 Dollar limitation for tax year. Subtract line 4 from line 1. If zero or less, enter -0-. If married filing separately, see instructions                                                         1, 05-070CT(T
                                            (a) Description of property                                          (b) Cost (business use only)                        (c) Elected cost

                                                                                                                                 5,000                                        5,00(T




     7 Listed property. Enter the amount from line 29
     8 Total elected cost of section 179 property. Add amounts in column (c), lines 6 and 7                                                                                                                       5,000
    9 Tentative deduction. Enter the of line 5 or line 8                                                                                                                                                         ~?7W^
   10 Carryover of disallowed deduction from line 13 of your 2020 Form 4562                                                                                                               10
   11 Business income limitation. Enter the smaller of business income (not less than zero) or line 5                                                                                     11
   12 Section 179 expense deduction. Add lines 9 and 10, but don't enter more than line 11 .........                                                                              12
   13 Carryover of disallowed deduction to 2022. Add lines 9 and 10, less line 12                                               .... H      13                                5,QOO'
            Don't use Part II or Part III below for listed property. Instead, use Part V.

                     Special Depreciation Allowance and Other Depreciation (Don't include listed property.)

   14 Special depreciation allowance for qualified property (other than listed property) placed in service during
        the tax year                                                                                                                                                                    14
   15 Property subject to section 168(f)(1) election                                                                                                                                    15
   16 Other depreciation (including ACRS) .................................................................................                                                             16
    Part             EVIACRS Depreciation (Don't include listed property. See instructions.)
                                                                                                        Section A

   17 MACRS deductions for assets placed in service in tax years beginning before 2021                                                                                                  17                     26,198
   18 If you are electing to group any assets placed in service during the tax year into one or more general asset accounts, check here

                                    Section B - Assets Placed in Service During 2021 Tax Year Using the General Depreciation System
                                                                      (b) Month and             (c) Basis for depreciation
                                                                                                                                     (d) Recovery
                   (a) Classification of property                      year placed             (business/investment use
                                                                                                                                         period
                                                                                                                                                               (e) Conventior    (f) Method        (g) Depreciation deduction
                                                                          in service             only - see instructions)

  19a 3-year property
     b 5-year property
     c 7-year property
     d 10-year property
     e 15-year property
     f 20-year property
     g 25-year property                                                                                                               25 yrs.                                       S/L
                                                                                /                                                    27.5 yrs.                       MM             S/L
     h Residential rental property
                                                                                /                                                    27.5 yrs.                       MM             S/L
                                                                            7/21                              7/000.                  39 yrs.                        MM             S/L                                 "827
     i Nonresidential real property
                                                                                /                                                                                    MM             S/L
                                Section C - Assets Placed in Service During 2021 Tax Year Using the Alternative Depreciation System

  20a Class life                                                                                                                                                                    S/L
     b 12-year                                                                                                                        12yrs.                                        S/L
     c 30-year                                                                 /                                                      30 yrs.                        MM             S/L
     d 40-year                                                                 /                                                      40 yrs.                        MM             S/L
   Part IV | Summary (See instructions.)
  21 Listed property. Enter amount from line 28                                                                                                                                         21                    13,525.
  22 Total. Add amounts from line 12, lines 1 4 through 17, lines 19 and 20 in column (g), and line 21 .
       Enter here and on the appropriate lines of your return. Partnerships and S corporations - see instr.                                                                             22                    39,805.
  23 For assets shown above and placed in service during the current year, enter the
       portion of the basis attrjbutable to section 263A costs                                                                            23
  116251 12-21-21 LHA For Paperwork Reduction Act Notice, see separate instpUctions.                                                                                                                    Form 4562 (2021)
16290822 798777 30008-01 2021.04020 INNVANTAGE GROUP                                                                                                                       INC.                            30008-01
                Case 23-12352                              Doc 1             Filed 09/18/23 Entered 09/18/23 14:48:36                                                                     Desc Main
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    Form 4562 (2021)                                                                                                                                                                     XX-XXXXXXX                          Page 2
            V ] (Include automobiles, certain other vehicles, certain aircraft, and property used for
                  entertainment, recreation, or amusement.)
                         For any vehicle for which you are using the standard mileage rate or deducting lease expense, complete 24a,
                  24b, columns (a) through (c) of Section A, all of Section B, and Section C if applicable.
                                        A - See the instructions for limits for passenger automobiles.)
    24a Do you have evidence to support the business/investment use claimed? I X I Yes II No                                                           If "Yes." is the evidence written? LS J Yes _I No

                    (a)                           Ib)                  (c)                          (d)                        (e)                   (f)            (g)                        (h)                       (i)
                                                 Date              Business/                                         Basis for depreciation                                                                          Elected
           Type of property                                                                     Cost or                                       Recovery         Method/                    Depreciation
          (list vehicles first)               placed in          investment                                          (business/investment
                                                                                                                                                                                           deduction               section 179
                                                                                              other basis                                       period        Convention
                                                 service       use percentage                                               use only)                                                                                  cost

   25 Special depreciation allowance for qualified listed property placed in service during the tax year and

       ^jsedj]]0j^han50%^^                                                                                                                                                   25
   26 Property used more than 50% in a qualified business use:
   TRUCKS                                      701"
                                           020513 10Q     %
                                                            '60'
                                                                                                    ,905.                60 ,905. 5 70^ 200DB-HY
   TRUCKS"                                 011518 100"\~w %                              TTT ,4067 TT7',406. 5 ToV                                                                      TT, ^52^
                                                                                %
   27 Property used 50% or less in a qualified business use:



                                                                                s
                                                                                %                                                                          TS/L-
                                                                                                                T                                           S/L-
                                                                                                                 I
                                                                            1   %                                                                           S/L-
   28 Add amounts in column (h) , lines 25 through 27. Enter here and on line 21, Page 1 .........                                                                           28         ~TT, ~525~
   29 Add amounts in column (i), line 26. Enter here and on line 7, page 1                                                                                                                            29
                                                                                              B           -    on

   Complete this section for vehicles used by a sole proprietor, partner, or other "more than 5% owner," or related person. If you provided vehicles
   to your employees, first answer the questions in Section C to see if you meet an exception to completing this section for those vehicles.


                                                                                              (a)                      (b)                    (c)                  (d)                        (e)                      (f)
   30 Total business/investment miles driven during the                                  Vehicle                     Vehicle              Vehicle              Vehicle                     Vehicle                  Vehicle
       year (don't include commuting miles)
   31 Total commuting miles driven during the year
   32 Total other personal (noncommuting) miles
       driven
   33 Total miles driven during the year.
       Add lines 30 through 32
  34 Was the vehicle available for personal use                                     Yes             No        Yes            No      Yes             No      Yes           No           Yes          No       Yes              No
       during off-duty hours?
  35 Was the vehicle used primarily by a more
       than 5% owner or related person?
  36 Is another vehicle available for personal

       use?   ...............................................................




                                           Section C - Questions for Employers Who Provide Vehicles for Use by Their Employees
  Answer these questions to determine if you meet an exception to completing Section B for vehicles used by employees who aren't
  more than 5% owners or related persons.

  37 Do you maintain a written policy statement that prohibits all personal use of vehicles, including commuting, by your                                                                                      Yes             No
       employees?
  38 Do you maintain a written policy statement that prohibits personal use of vehicles, except commuting, by your
       employees? See the instructions for vehicles used by corporate officers, directors, or 1% or more owners
  39 Do you treat all use of vehicles by employees as personal use?
  40 Do you provide more than five vehicles to your employees, obtain information from your employees about
      the use of the vehicles, and retain the information received?
  41 Do you meet the requirements concerning qualified automobile demonstration use?
      Note: If your answer to 37,38, 39, 40, or 41 is "Yes," don't complete Section B for the covered vehicles.
          ¥1 | Amortization
                                  (a)                                            (b)                           (c)                                  _(d)                    (e)                              (f)
                          Description of costs                            Date amortization               Amortizable                           Code                     Amortization                  Amortization
                                                                                begins                        amount                           section             period or percentage                for this year

  42 Amortization of costs that begins during your 2021 tax year:




  43 Amortization of costs that began before your 2021 tax year                                                                                                                     43
  44 Total. Add amounts in column (f). See the instructions for where to report                                                                                                     44
  116252 12-21-21                                                                                                                                                                                         Form 4562 (2021)

16290822 798777 30008-01                                                         2021.04020 INNVANTAGE GROUP INC.                                                                                         30008-01
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2021 DEPRECIATION AND AMORTIZATION REPORT

OTHER DEPRECIATION                                                                                      OTHER


 Asset                                        Date                                       Unadjusted      Bus    )ection 179     Reduction In     Basis For         Beginning     Current   Current Year          Ending
  No.                   Description         Acquired   Method     Life                  Cost Or Basis     %      Expense           Basis        Depreciation      Accumulated    Sec 179    Deduction         Accumulated
                                                                                                         Excl                                                     Depreciation   Expense                      Depreciation


          TRUCKS                            02/05/13H 200DEJ 5.00           HY|            60.905.                                                 60 .905.         60 .905.                            0.1      60,905»



          EQUIPMENT                         07/01/1711 200DEJ 7.00          H^            172,861.                                               172.861.           81,169,                   26.198.1         107,367»



          TRUCKS                            01/15/188 200DE3    5.00        H^            117,406.                                               117,406.           83,593.                   13,525.)           97,118,



         9 HVAC                             07/01/21JI SL       39 . 0 0|   m 9IJ            7.000                                                   7.000 Jj                                       82j                82.



     10 FIRE SYSTEM                         07/01/21|| SL       15.00 H^I         9E|        5.000.                5.000.                                                         5.000.        5.000.



             LESS 179 C/0                                                                                                                                                        -5.000.       -5.000.




           * TOTAL OTHER DEPRECIATION                                                     363.172.                 5.000.                         358.172.         225,667.                    39.805.          265,472.




           CURRENT YEAR ACTIVITY


             BEGINNING BALANCE                                                            351, 172.                        0,                     351.172,         225,667„                                     265.390.



                   ACQUISITIONS                                                             12, 000.                5,000.                           7.000.                                                            82


                   DISPOSITIONS/RETIRED                                                            0.                      0                                 0.             0.




             ENDING BALANCE                                                               363   172.                5.000                         358,172.          225.667.                                    265,472




 128111 04-01-21
                                                                                        (D) -Asset disposed                                    * ITC, Salvage, Bonus, Commercial Revitalization Deduction, GO Zone

                                                            ^.1
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NNVANTAGE GROUP INC.                                                           In                          1                                                                    XX-XXXXXXX

;STB   -F
                          Description                EIN        >rdinary Business       Rental                 Royalty            Section 123-1            Other               Section 179
                                                                 Income (Loss)       Income (Loss)         Income (Loss)           Gain (Loss)         Income (Loss)            Deduction
            ['RADE OR BUSINESS                                        -504,097
                                                                      -bU4,uy/
                                                                                                                              T
            POTAL
                                                                                                       T                                                               1
                                                                                                                                                                       1




                                                                                                                                                  T"'—--
                                                                                                                                                  JZ
                                                                                                                                                  I
                                                                                                                                                  I
                                                                                                                         Cooperative
3STB   T                                            Other                             Unadjusted
                           Description                            W-2 Wages                                    uuaimea                                   Reserved               Reserved
                                                  Deductions                         Basis of Assets        Business Income        W-2 Wages
            TRADE OR BUSINESS                                           bbJ . »y^           3b^.17^
            TOTAL                                                      ~& 53 7^8 2         ~T^T~T7T




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               GROUP INC c                                                        XX-XXXXXXX


      1120S




BUSINESS LICENSES & PERMITS                                                          10,208.
OTHER TAXES                                                                           8,134,
                                                                                     50,941.
                                                                                     21,218.
                  -   ON                                                              4,965,

TOTAL TO FORM 112 OS, PAGE 1, LINE 12                                                95,466.




FORM 1120S




     &                                                                              110,840
                                                                                     52,686
          &                                                                         249,443
INSURANCE                                                                           161,563
JANITORIAL                                                                            8,256
LEGAL & PROFESSIONAL                                                                 59,134
MARKETING                                                                           100,430
MEALS NOT SUBJECT TO LIMITATION                                                      25,038
OFFICE EXPENSES                                                                      74,064,
OUTSIDE SERVICES                                                                     23,090
PARKING & TOLLS                                                                       8,145.
PRINTING                                                                             31,533.
PROJECT EXPENSES                                                                  2,109,686c
SOFTWARE                                                                             92,686.
TELEPHONE                                                                            26,599.
TRAVEL                                                                                7,445.
UTILITIES                                                                            43,829.
WASTE/DISPOSAL                                                                           8,855.
                                                                                  3,991,607o
TOTAL TO FORM 112 OS/ PAGE I/ LINE 19




SCHEDULE K                       OTHER TAX-EXEMPT INCOME                      STATEMENT


DESCRIPTION                                                                      AMOUNT

PPP FORGIVENESS                                                                    200,541.

TOTAL TO SCHEDULE K/ LINE 16B                                                      200,541




                                               10 STATEMENT (S) 1/2/3
16290822 798777 30008-01           2021o04020 INNVANTAGE GROUP INC, 30008-01
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                      INC o                                                      XX-XXXXXXX


            K                                                                                  4




                                                                                    24,649
                 DUE TO                                                            138,704

      TO K/ 16C                                                                    163,353.




            K                                         17D




                W-2
                                    OF                                             363,172.




            L


                                                          BEGINNING OF        END OF TAX
DESCRIPTION                                                 TAX YEAR            YEAR

LOAN - TRUCK                                                      1,385                    0

TOTAL TO SCHEDULE L/ LINE 18                                      1,385




SCHEDULE L                        OTHER LIABILITIES                          STATEMENT


                                                         BEGINNING OF         END OF TAX
DESCRIPTION                                                TAX YEAR             YEAR

EIDL LOAN                                                              0.       2,000,000

TOTAL TO SCHEDULE L/ LINE 21                                           0.       2,000,000




                                             11 STATEMENT(S) 4/ 5/ 6/ 7
16290822 798777 30008-01         2021o04020 INNVANTAGE GROUP INCo 30008-01
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                    INC o                                                       XX-XXXXXXX


            L                 OF            PER




        AT OF                                                                     404,134
NET INCOME PER BOOKS                                                               52,589
DISTRIBUTIONS                                                                               0
OTHER INCREASES (DECREASES)


        AT      END             OF     -   L/    24,     (D;                      456,723




SCHEDULE M-l                                  ON
                                              ON         K


DESCRIPTION

                                                                                   24,649o
                                                                                  138,704.
       IN                                                                               8/393o


TOTAL TO SCHEDULE M-l/ LINE 3                                                      171,726




SCHEDULE M-l                INCOME RECORDED ON BOOKS THIS YEAR              STATEMENT 10
                                NOT INCLUDED ON SCHEDULE K


DESCRIPTION                                                                    AMOUNT

PPP FORGIVENESS                                                                   200,541.
CHANGE IN ACCOUNTS RECEIVABLE                                                          61,393.


TOTAL TO SCHEDULE M-l/ LINE 5                                                      261,934.




SCHEDULE M-2 ACCUMULATED ADJUSTMENTS ACCOUNT - OTHER ADDITIONS STATEMENT 11


DESCRIPTION                                                                    AMOUNT

EXPENSES RELATED TO TAX-EXEMPT INCOME                                            200,541,

TOTAL TO SCHEDULE M-2/ LINE 3 - COLUMN (A)                                       200,541




                                              12 STATEMENT(S) 8, 9, 10, 11
16290822 798777 30008-01          2021o04020 INNVANTAGE GROUP INCo 30008-01
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  IKTKFVANTAGE GROUP INC                                                        XX-XXXXXXX


          M-2                                      -             12




                                                                                  200.541

      TO        M-2/            3   -   (D;                                       200,541




         M-2                                                   13




NONDEDUCTIBLE EXPENSES                                                            163,353

TOTAL TO SCHEDULE M-2, LINE 5 - COLUMN (A;                                        163,353




         M-2      OTHER ADJUSTMENTS ACCOUNT - OTHER REDUCTIONS STATEMENT 14


DESCRIPTION                                                                    AMOUNT

EXPENSES RELATED TO TAX-EXEMPT INCOME                                            200,541,

TOTAL TO SCHEDULE M-2, LINE 5 - COLUMN (D)                                       200,541,




                                             13 STATEMENTS) 12, 13, 14
16290822 798777 30008-01         2021o04020 INNVANTAGE GROUP INCo 30008-01
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                  INCo                     XX-XXXXXXX


            M-2/L                      OF                M-2                     15




                                                                             &
                          AAA               OAA               &      ADJo

SCH. M-2 BALANCES -62,775. 0,
       TO
                          519,498.

SUBTOTALS 456,723. 0.

                              M-2              456,723                               c.


                                           L/      24        456,723o




                                              14 STATEMENT(S) 15
16290822 798777 30008-01 2021o04020 INNVANTAGE GROUP INCo 30008-01
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ALTERNATIVE MINIMUM TAX DEPRECIATION REPORT




   Asset                                            Date      AMT     AMT           AMT           AMT              Regular          AMT            AMT
    No.                     Description           Acquired   Method   Life     Cost Or Basis   Accumulated       Depreciation    Depreciation    Adjustment

            7(EQUIPMENT                          )1\ rap^ ~50D^ Too'           172,861"        "98,753           ~26~,~T9W       '21,174           ~5702 4 .
             i|TRUCKS                            )Hl5|18|l 50DB| .00           117,406           68,506           13,525          19,560          -6,035o
            91HVAC                                    121| L     9.00|           7,000                       0              82              82                0.
          101 PIRE SYSTEM                             |21| L     5.00|           5,000                       0       5,000           5,000                    Oo


             TOTALS                                                            302,267         167,259             44,805          45,816         -1,Oil„


             MACRS AMT ADJUSTMENT                                                                                                  -1,011




 128104
 04-01-21




                                                                             14.1
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                                                                                                                                                         Q?1121

   ScheduieK-1 ^g^e^^a                                                        II Final K-1 Amended K-1                                           0MB No. 1545-01^
                                                                         I           888 Shareholder's of Current Year
   Department of the Treasury                                                                    Deductions. Credits, and Other Items
   Internal Revenue Service par calendar year 2021, or tax                     1    Ordinary business income (loss) |      1;    Credits
                                   year beginning                                               81,461.
                                           ending                              2    Met rental real estate inc (loss)


                                     of                                        3    Dther net rental income (loss)
                             ^ See separate instructions.
                                                                               4    nterest income
                I            the

        A Corporation's employer identification number                         5a   ordinary dividends
         XX-XXXXXXX
        B Corporation's name, address, city, state, and ZIP code               5b   Qualified dividends                    •\i   Schedule K-3 is attached if
                                                                                                                                 checked .................. t> I


                                                                               &    royalties                              1£    alternative min tax (AMT) items
        1585 SOUTH SHIELDS DRIVE                                                                                           ^                             -506.
        WAUKEGAN, IL 60085                                                     7    ^Jet short-term capital gain (loss)|


        C IRS Center where corporation filed return                            8a   Jet long-term capital gain (loss)
        E-FILE
        D Corporation's total number of shares                                8b    collectibles (28%) gain (loss)
              Beginning of tax year l,100o00
              Endoftaxyear I/ 100 o 00                                        8c    Jnrecaptured sec 1250 gain


                                                                              9     let section 1231 gain (loss)           16    tems affecting shareholder basis
                88                 the
        E Shareholder's identifying number                                    10    Ither income (loss)
        XXX-XX-XXXX
        XXXXXXXXXXXX
        F Shareholder's name, address, city, state, and ZIP code


        JAMES STIVERS
        640 CASTLEWOOD LANE
        DEERFIELD, IL 60015

                                                                                                                           17    fther information
        6 Current year allocation percentage 50o000000%
                                                                              11    ection 179 deduction
        H Shareholder's number of shares
              Beginning of tax year 550o00                                    12    ther deductions
              End of tax year 550 o 00


        I Loans from shareholder
             Beginning of tax year $
             En d of tax year $




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   /)

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                                                                              18    J More than one activity for at-risk purposes*
                                                                               9      More than one activity for passive activity purposes*
                                                                                         *See attached statement for additional information.
  n-18-21 LHA For Paperwork Reduction Act Notice, seethe Instructions for Form 1120-S. www.irs.gov/Form1120S Schedule K-1 (Form 1120-8)2021
                                                                              15                                                           1
16290822 798777 30008-01 2021o04020 INNVANTAGE GROUP INCo 30008-01
        Case 23-12352   Doc 1   Filed 09/18/23 Entered 09/18/23 14:48:36   Desc Main
                                 Document     Page 33 of 38
                GROUP INC                                                       XX-XXXXXXX


 SCHEDULE K-l




                                NOT IN W-2                                         22,698


                                         162(L)                                    22,698


         K-l                                          BOX 16, B




ppp                                        100,271

TOTAL                                      100,271.




         K-l            NONDEDUCTIBLE EXPENSES, BOX 16, CODE C


DESCRIPTION                              AMOUNT       SHAREHOLDER FILING INSTRUCTIONS

LIFE INSURANCE                              12,325.
WAGES REDUCED DUE TO EMPLOYMENT
CREDITS                                     69,352. SEE SHAREHOLDERS INSTRUCTIONS

TOTAL                                       81,677




                                                16                         SHAREHOLDER 1
16290822 798777 30008-01         2021o04020 INNVANTAGE GROUP INCo              30008-01
       Case 23-12352   Doc 1   Filed 09/18/23 Entered 09/18/23 14:48:36   Desc Main
                                Document     Page 34 of 38
  INNVANTAGE GROUP INCo XX-XXXXXXX


           K-l


 THE 199A TO BE IN THE OF THE
 BUSINESS INCOME DEDUCTION ON YOUR 1040/1041 RETURN ARE REPORTED ON LINE 17,
 UNDER CODE Vo PLEASE CONSULT YOUR TAX ADVISOR REGARDING THE CALCULATION OF
 QUALIFIED BUSINESS INCOME DEDUCTION, INCLUDING THE POSSIBLE AGGREGATIONS
 AND THE OF THE lo199A-4(C)(2)(I)




           K-l          BOX                       17
                                         CODE V




      OR

             INCOME(LOSS)
   W-2             WAGES                               326,941.
   UNADJUSTED                                 BASIS               181,586.




SCHEDULE K-l GROSS RECEIPTS FOR SECTION 448(C), BOX 17, CODE AC


DESCRIPTION                                        AMOUNT

GROSS RECEIPTS - CURRENT YEAR 2,476,437




                                       17 SHAREHOLDER 1
16290822 798777 30008-01 2021,04020 INNVANTAGE GROUP INCo 30008-01
                    Case 23-12352       Doc 1           Filed 09/18/23 Entered 09/18/23 14:48:36                      Desc Main
                                                         Document     Page 35 of 38


    This list identifies the codes     I Deductions - royalty             P Other credits                   is    Recapture of investment
    used on Schedule K-1 for              income                                                                  credit
                                                                                  15. mini-
    all shareholders. For              J Section 59(e)(2)                                                   H     Recapture of other
                                                                                   tax (ASVIT)
    detailed reporting and filing         expenditures                                                            credits
                                                                          A Post-1986 depreciation
    information, see the specific     K Reserved for future use                                              I    Look-back
                                                                                adjustment
    line instructions, earlier, and   L Deductions - portfolio                                                    interest-compteted
                                                                          3 Adjusted gain or loss
   the instructions for your              (other)                                                                 long-term contracts
                                                                          C Depletion (other than oil
    income tax return.                 ?V1 Preproductive period                                              J    Look-back
                                                                                & gas)
                                          expenses                                                               interest-income
            10. Other                                                     D Oil, gas, &
                                      N Reserved for future use                                                  forecast method
   (ioss)                                                                       geothermal-gross
                                      0 Reforestation expense                                               K    Dispositions of property
                                                                                income
                                          deduction                                                              with section 179
                                                                                Oil, gas, &
    A Other portfolio income          P Reserved for future use                                                  deductions
                                                                                geothermal-deductions
           (loss)                     Q Reserved for future use                                                  Recapture of section
                                                                          F Other AMT items
    B Involuntary conversions         R Reserved for future use                                                  179 deduction
   C Section 1256 contracts           S Other deductions                         16.                        ?    Section 453(1)(3)
        & straddles                                                                                              information
                                           13,
   D Mining exploration costs                                            A Tax-exempt interest              N    Section 453A(c)
                                      A Reserved for future use
        recapture                                                               income                           information
                                      B Reserved for future use
   E Section 951A(a) income                                              B Other tax-exempt                 0    Section 1260(b)
                                      C Low-income housing
        inclusions                                                              income                           information
                                          credit (section 42(j)(5))
        Inclusions of subpart F                                          C Nondeductible expenses           p    Interest allocable to
                                          from post-2007 buildings
        income                                                           D Distributions                         production expenditures
                                      D Low-income housing
   G Section 951 (a)(1)(B)                                               E Repayment of loans               Q    CCF nonqualified
                                          credit (other) from
        inclusions                                                              from shareholders                withdrawals
                                          post-2007 buildings
   H Other income (loss)                                                 F Foreign taxes paid or            R    Depletion
                                      E Qualified rehabilitation
                                                                                accrued                          infonnation-oil and gas
   Box 12. Other deduc-                   expenditures (rental real
                                                                                                            s    Reserved for future use
   tions                                  estate)                        Box 17. Other informa-
                                                                                                            T    Reserved for future use
   A Cash contributions               F Other rental real estate         tion
                                                                                                            u    Net investment income
       (60%)                              credits                        A Investment income
                                                                                                            v    Section 199A
   B Cash contributions               G Other rental credits             B Investment expenses
                                                                                                                 information
       (30%)                          H Undistributed capital            C Qualified rehabilitation
   C Noncash contributions               gains credit                           expenditures (other than
                                                                                                           w     Reserved for future use
                                                                                                            x Reserved for future use
       (50%)                          I Biofuel producer credit                 rental real estate)
                                                                                                            Y Reserved for future use
   D Noncash contributions            J Work opportunity credit          D Basis of energy property
                                                                                                            z Reserved for future use
       (30%)                          K Disabled access credit           E Recapture of
                                                                                                           AA Excess taxable income
   E Capital gain property to         L Empowerment zone                    low-income housing
                                                                                                           AB Excess business
       a 50% limit organization          employment credit                  credit (section 42(j)(5))
                                                                                                                 interest income
       (30%)                          M Credit for increasing            F Recapture of
                                                                                                           AC Gross receipts for
   F Capital gain property               research activities                low-income housing
                                                                                                                 section 448(c)
       (20%)                          N Credit for employer                 credit (other)
                                                                                                           AD    Other information
  G Contributions (100%)                 social security and
  H Investment interest                  Medicare taxes
       expense                        0 Backup withholding




  111797
  01-14-22                                                            -18- Instructions for Schedule K-1 (Form 1120-S) (2021)
                                                                      17.1                  1
16290822 798777 30008-01                                  2021.04020 INNVANTAGE GROUP INC. 30008-01
                  Case 23-12352                   Doc 1        Filed 09/18/23 Entered 09/18/23 14:48:36                              Desc Main
                                                                Document     Page 36 of 38
                                                                                                                                                           b7112:

                                                                                     HnalK-1 Amended K-1                                          0MB No. 1545-01^
                                                                                      BBB Shareholder's of Current Year Income,
   Department of the Treasury                                                                      Deductions, Credits, and Other
   Internal Revenue Service por calendar year 2021, or tax                      1    Ordinary business income (loss)]         1:   Credits
                                    year beginning                                             81/461.
                                            ending                              2    Met rental real estate inc (loss)


                                      of                                        3    Dther net rental income (loss)
                              ^> See separate instructions.
                                                                                4    nterest income
                 I            the

         A Corporation's employer identification number                         5a   ordinary dividends
         XX-XXXXXXX
         8 Corporation's name, address, city, state, and ZIP code               5b   Qualified dividends                      u    Schedule K-3 is attached if
                                                                                                                                   decked .................. ^>


                                                                                6    royalties                                1£   alternative min tax (AMT) items
                                                                                                                          ^                               -505.
                           / IL 60085                                           7    ki short-term capital gain (loss)|


         C IRS Center where corporation filed return                           8a    Jet long-term capital gain (loss)
         E-FILE
         D Corporation's total number of shares                                8b    collectibles (28%) gain (loss)
               Beginning of tax year l,100o00
               Endoftaxyear I/ 100 o 00                                        8c    Jnrecaptured sec 1250 gain


                                                                               9     Jet section 1231 gain (loss)         16       :ems affecting shareholder basis
                 81                 the
         E Shareholder's identifying number                                    10    Ither income (loss)
         XXXXXXXXXXXXX
         XXX-XX-XXXX
         XXXXXXXXXXXXX
         F Shareholder's name, address, city, state, and ZIP code


       DEAN THEO
       611 VOLTZ ROAD
       NORTHBROOK, IL 60062

                                                                                                                          17       ither information
         G Current year allocation percentage 50o000000%                                                                  J
                                                                               11    ection 179 deduction
         H Shareholder's number of shares                                                                                 i.C
               Beginning of tax year 550o00                                    12    ther deductions
               Endoftaxyear 550 o 00


       I Loans from shareholder
              Beginning of tax year $
              End of tax year $




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                                                                               18    J More than one activity for at-risk purposes*
                                                                               19      More than one activity for passive activity purposes*
                                                                                          *See attached statement for additional information.
  n-Ts-21 LHA For Paperwork Reduction Act Notice, see the Instructions for Form 1120-S. www.irs.gov/Form1120S Schedule K-1(Form 1120-8) 2021
                                                                               18                                                            2
16290822 798777 30008-01 2021o04020 INNVANTAGE GROUP INCo 30008-01
        Case 23-12352   Doc 1   Filed 09/18/23 Entered 09/18/23 14:48:36   Desc Main
                                 Document     Page 37 of 38
               GROUP INC                                                        XX-XXXXXXX


         K-l                             FOOTNOTES




                                              IN W-2                               26,970


                                         162(L)                                    26,970


         K-l                                           BOX 16, B




ppp                                         100,270

TOTAL                                       100,270




         K-l                                          BOX 16, Ci



DESCRIPTION                              AMOUNT        SHAREHOLDER FILING INSTRUCTIONS

LIFE INSURANCE                               12,324.
WAGES REDUCED DUE TO EMPLOYMENT
CREDITS                                      69,352o SEE SHAREHOLDERS INSTRUCTIONS

TOTAL                                        81,676




                                                19                          SHAREHOLDER 2
16290822 798777 30008-01         2021o04020 INNVANTAGE GROUP INC,               30008-01
       Case 23-12352   Doc 1   Filed 09/18/23 Entered 09/18/23 14:48:36   Desc Main
                                Document     Page 38 of 38
                   INCo                     XX-XXXXXXX



           K-l


 THE 199A TO BE IN THE OF THE
             ON 1040/1041 ARE ON 17,
                 Vo       TAX                    THE                      OF
                                             THE
 AND LIMITATIONS THAT MAY APPLY AND THE FILING OF THE 1,199A-4(C)(2)(I)




SCHEDULE K-l SECTION 199A ITEMS, BOX 17
                              v




      OR

   ORDINARY INCOME(LOSS) 81,461
   W-2 WAGES
   UNADJUSTED                                 BASIS               181,586.




SCHEDULE K-l GROSS RECEIPTS FOR SECTION 448(C), BOX 17, CODE AC


DESCRIPTION                                        AMOUNT

GROSS RECEIPTS - CURRENT YEAR 2,476,437




                                       20 SHAREHOLDER 2
16290822 798777 30008-01 2021.04020 INNVANTAGE GROUP INC. 30008-01
